           Case 21-21053-jrs          Doc 79-3      Filed 11/24/21 Entered 11/24/21 17:05:12                    Desc
                                                  Exhibit C Page 1 of 1
11:21 AM                                       EXTRUSION GROUP LLC - DIP
11/20/21                                           Reconciliation Detail
                                            AXOS 74090, Period Ending 10/31/2021

                     Type            Date          Num         Name            Clr   Amount        Balance
               Beginning Balance                                                                             0.00
                  Cleared Transactions
                    Deposits and Credits - 5 items
               Payment          10/22/2021               Wildwood Cotton ...   X       15,000.00      15,000.00
               Payment          10/25/2021               Johns Manville        X        2,500.00      17,500.00
               Payment          10/25/2021               Johns Manville        X        4,340.00      21,840.00
               Payment          10/25/2021               ADCO Plastics         X        7,500.00      29,340.00
               Payment          10/26/2021               Johns Manville        X        4,662.07      34,002.07

                    Total Deposits and Credits                                         34,002.07      34,002.07

                  Total Cleared Transactions                                           34,002.07      34,002.07

               Cleared Balance                                                         34,002.07      34,002.07

               Register Balance as of 10/31/2021                                       34,002.07      34,002.07

               Ending Balance                                                          34,002.07      34,002.07




                                                                                                                       Page 1
